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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
RETHINKS3S, et al., §
Plaintiffs, :
v. : CIVIL ACTION NO. 1:24-CV-00092-DII
TEXAS DEPARTMENT OF
TRANSPORTATION, §
Defendant. :

CERTIFICATION OF THIRD SUPPLEMENT TO THE ADMINISTRATIVE RECORD
DECLARATION OF DOUG BOOHER

I, Doug Booher, declare as follows:

l. I am the Director of the Environmental Affairs Division of the Texas Department of
Transportation (TxDOT). I have served in my Director role since 2021. I have been responsible,
with others, for assembling the Administrative Record for the Record of Decision for the I-35
Capital Express Central Project from US 290 East to State Highway 71/Ben White Boulevard
(““CapEx Central” or “Project”), that is the subject of this litigation.

2. Attached to this Declaration as Exhibit 1 is the TxDOT Index for the Third Supplement to
the Administrative Record. The documents in the Third Supplement to the Administrative Record
were considered, directly or indirectly, by TxDOT in this decision. These documents are true and
correct copies of the original documents located in the files for the Project.

3. The Index and an electronic copy of the documents in the Third Supplement to the
Administrative Record are collected and saved onto one flash drive. Two identical flash drives are
being delivered to the Clerk’s office, one of which will be routed to the assigned Judge’s Chambers

by the Clerk, and two flash drives are being delivered to Plaintiffs’ counsel.
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4, I certify under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and I[ would so testify if called upon to do so in a court of law.

Dated this q mh day of January 2025.

Director, Environmental Affairs Division
Texas Department of Transportation
